                    Case 20-40867                   Doc 49           Filed 07/13/20 Entered 07/13/20 08:34:09 Desc Main r-
 Fill in this information to identify your case:                      Document     Page 1 of 25             Eodnende{plers art
                                                                                                            ff Clpck if this amended plan is flled
 IN THE UNITED STATES BANKRUPTGY COURT                                                                                                               p/or to any confirmation hearing.

 FOR THE EASTERN DISTRIGT OF TEXAS                                                                                                               Elcnect      if this amended plan is filed
                                                                                                                                                     in response to an initial denial order
                       Btiu'                                 churle.                               Gr.r,
                                                                                                                                                     or a continuance that counted as
 Debtor      1                                                                                                                                       an initial denial.
                       First Name                           Middle Name                                  Last Name
                                                                                                                                                  List the sections which have been
                                                                                                                                                    changed by this amended plan:
 Debtor 2                                                                                                                                        Part 8
 (filing   spouse) First Name                               Middle Name                                   Last Name                              See Exhibit "B" Debtor's
                                                                                                                                                 Liquidating Chap 13 Plan
                            20-40867
 Case Number:



TXEB Local Form 3015-a
                                                                      GHAPTER                       {3       PLAN
                                                                                                                                                                             Dec 2O{

f@                         Notices
To    Debtorl:          This plan form is designed for use when seeking an initial conflrmation order. lt sets out options that may be appropriate in
                        some cases, but the presence of an option on the form does not indicate that the option is appropriate in your circumstances.                              I
                        When you file this Plan, you must serve a copy of it upon each partyr listed on the master mailing list (matrix) of
                        creditorc as constituted by the Court on the date of service and evidence that service through a Certificate of Service
                        affixed to this document that attaches a copy of the matrix of creditorc which you seled. The most current matrix in
                        this case is available under the "Reports" tab of the CM'ECF system.
To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or                                        eliminated.                                  e
                        You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. lf you do not
                        have an attorney, you may wish to consult one.
                        lf you oppose any permanent treatment of your claim as outlined in this plan, you or your attomey must file an objection
                        to confirmation of this Plan. An objection to confirmation must be filed at least !!_g!3yg before the date set for the plan
                        confirmationhearing. Thatdateislistedintf gofthe Noticeof Chapterl3BankruptcyCaseissuedinthiscase. The
                        objection period may be extended to 7 days prior to the confirmation hearing under the circumstances specified in LBR
                        3015(0. ln any event, the Court may confirm this plan without further notice if no objection to confirmation is timely filed.
                        Regardless of whether you are listed in the Debtor's matrix of creditors or in the Debto/s schedules, you must timely
                        file a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in fl 8 of the Notice of
                        Chapter 13 Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the Trustee's next
                        scheduled distribution date afterthe Effective Date of the Plan. See $ 9.1.
                        The Debtor must check one box on each line fo slaie whether or not the plan includes each of the following items. lf an
                        item is checked as "Not lncluded" or if both boxes are checked, the provision will be ineffective ff set out later in the Plan.

1.1           A limit on the amount of an allowed secured claim through a final determination of the                                      E    lncluded            E   ruot included
              value of property constituting collateral for such claim, as set forth in $ 3.10 of this
              Plan, which may result in a partial payment or no payment at all to the secured
              creditor.

1.2           Avoidance of         a   judicial lien or a nonpossessory, nonpurchase-money security interest,                             I    lncluded           EI   ruot included
              as set forth in $ 3.9 of this Plan.

1.3           Potential termination and removal of lien based upon alleged unsecured status of                                            E    lncluded           El   Not included
              claim of lienholder, as set forth in $ 3.11 of this Plan.

1.4           Nonstandard provisions as set forth in Part 8.                                                                              E    lncluded            B   ruot included




               1
                   The use of the singular term "Debto/' in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.
              Brian
                CaseCharles GreggDoc 49
                     20-40867          Filed 07/13/20 Entered    20-40861
                                                                  07/13/20 08:34:09                                         Desc Main
Debtor                                               Case number
                                        Document     Page    2 of 25
  Panl2=            Plan Payments and Length of Plan

  2.1    The applicable commitment period for the Debtor i=         36         months.


 2.2 Payment Schedule.
         Unless the Court orders otheruvise, beginning on the 30th day after the Petition Date2 or the entry date of any order converting this
         case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the applicable
         commitment period and for such additional time as may be necessary to make the payments to claimants specified in Parts 3
         through 5 of this Plan (the "Plan Term"). The payment schedule shall consist of:

         E     Constant Payments: The Debtor will pay g                               per month for   _           months.


         E   Variable Payments: The Debtor will pay make variable plan payments throughout the Plan Term. The proposed
         schedule for such variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.



 2.3 Mode of Payment.           Regular payments to the Trustee will be made from future income in the following manner:

         lCheck onel

          E    Debtor will make payments pursuant to a wage withholding order directed to an employer.

          EN OeOtor witl make electronic payments through the Trustee's authorized online payment system.
          E    Debtor will make payments by money order or cashier's check upon written authority of the Trustee.
          E    Debtor will make payments by other direct means only as authorized'by motion and separate court order.



         lncome tax refunds.
         ln addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
             required to:
                 (1)   supply a copy of each federal income tax return, including all supporting schedues, filed during the Plan
                       Term to the Trustee within 14 days of filing the return; and
                 (2)   remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor
                       during the plan term which will be added to the plan base; provided, however, that the Debtor may retain
                       from each such refund up to $2,000.00 in the aggregate on an annual basis if the Debtor is cunent on the
                       payment obligations to the Trustee under this Plan at the time of the receipt of such tax refund.
         The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during
         the plan term.



         Additional payments.
         lCheck onel

         E     ruon". lf "None" is checked,therestofg 2.5 need      not   be completed.
         tr    The Debtor will make additional payments to the Trustee from other sources, as specified below. Describe the source,
              estimated amount, and date of each proposed payment.




         Plan Base.
         The total amount due and owing to the Trustee under gg 2.2 and 2.5 is $                           which, when combined with any income
         tax refunds due to the Trustee under $ 2.4, any litigation proceeds due to the Trustee under $ 9.3, and any other funds received by the
         Trustee on the Debtor's behalf during the Plan Term, constitutes the "Plan Base."




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        Bnan
         CaseUharles GreggDoc 49
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                                                                                        07/13/20                                                   Desc Main
                                                                            Case number
                                                              Document     Page 3 of 25
  Part 3:           Treatment of Secured Glaims

       Post-Petition Home Mortgage Payments. [Gheck one]

       El    No Holn" Mortgage. lf "No Home Mortgage"                   is   checked, the remainderof g         3.I   and g   3.2 need     not   be compteted.

       E     ttom. Mortgage Maturing Before or During PIan Term. lf "Mortgage                             Maturing"    is   checked, the claim will be addressed in g 3.4.
             The remainder of $ 3.7 and g 3.2 need not be completed.

       E     Oirect Home Mortgage Payments by Debtor Required.
            On the Petition Date, the Debtor owed the following claims secured only by a security interest in real property that is the Debtor's
            principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims (other than related
            Cure Claims addressed in $ 3.2), shall be paid directly by the Debtor in accordance with the pre-petition contract, including any rate
            changes or other modifications required by such documents and noticed in conformity with any applicable rules, as such payments
            become due during the Plan Term. The fulfillment of this requirement is critical to the Debtor's reorganization effort. Any failure by
            the Debtor to maintain payments to a mortgage creditor during the Plan Term may preclude confirmation of this Plan and,
            absent a subsequent surrender of the mortgage premises, may preclude the issuance of any discharge order to the Debtor
            under $ 1328(a).3 The Trustee will monitor the Debtor's fulfillment of this direct payment obligation ('DPO').




  1-    Select Portfolio Servicing, Inc
                                                                                                                                      Amount inc:
                 Citibank N.A.
                                                                     {J41 Hitrhing Poqt I ane Plano, TX 75O't4                        tr Tax Escrow
 -For                                                                                                                                 E lnsurance Escrow
                                                                                                                                      tr Other

 2.    Servis One. Inc
                                                                                                                                      Amount inc:
           US Bank Trust                                             454                                                              tr   Tax Escrow
 -For                                                                                                                                 D       lnsurance Escrow
                                                                                                                                      D    Other


 3.2 Curiry, Defaults and Maintenance of Direct Payment Obligations.                               [Check one]
             I
         8YUon". lf "None" is checked,             the remainder of g        3.2 need   not   be compteted.
         E    Crr" Claims. On the Petition Date, the Debtor was delinquent on payments to satisfy certain secured claims or upon obligations
       arising under an executory contract or an unexpired lease that the Debtor has elected to assume under $ 6.1 of this Plan. While
       remaining current on all direct payment obligations (future installment payments) as each comes due under the applicable contractual
       documents during the plan term (a "DPO"), the Debtor shall cure all such delinquencies through the Plan as listed below (a "Cure Claim").
       Each listed claim constitutes a separate class. The total amount of each allowed Cure Claim will be paid in full by the Trustee. The
       Trustee is authorized to initiate monthly payments on an interim basis based upon the projected amount of each Cure Claim listed below
       until such time as the allowed amount of each Cure Claim is established by the filing of a proof of claim in accordance with the Bankruptcy
       Rules. The amount listed in that proof of claim, or the final determination by the Court of any objection thereto, shall control over any
       projected Cure Claim amount listed below. No interest will be paid on any Cure Claim in the absence of documentary proof that the
       applicable contractual documents entitle the claimant to receive interest on unpaid interest.

       lf the automatic stay is terminated as to the property for which a Cure Claim exists at any time during the Plan Term, the next distribution
       by the Trustee on such Cure Claim shall be escrowed pending any possible reconsideration of the stay termination. lf the stay termination
       is reversed by agreement or by court order, then the single escrowed distribution shall be released to the holder of the Cure Claim and
       regular distributions on that Cure Claim shall be reinstituted. ln the event that the stay termination remains in effect on the second
       distribution date after the stay termination, the escrowed funds shall be released for distribution to other classes under this Plan and the
       Cure Claim shall thereafter be addressed solely under applicable state law procedures and will no longer be treated by the Plan. The
       completion of payments contemplated in this subsection constitutes a cure of all defaults of the Debtor's obligation to each listed claimant.




         2
             The use of the term 'Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.
         3
             All statutory references contiained in this Plan refer to the Bankruptcy Code, located in Title 1 1, United States Code.

TXEB Local Form 3015-a        @fr.'t2t2o17l                                  Chapter 13 Plan                                                                           Page 3
         Brian Charles Gregg                                                     20-40867
Debtor
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                                                                          number
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                                                                                       $_                       o/
                                                                                                                fo   $_
    Debt Maturing
  During Plan Term.
       Debt Maturing
  After Completion of
  Plan Term.
    Curing Assumed
  Executory Contract or
  Lease Obligation
  Pursuant to $ 6.1.

  2.

                                                                     $_                                         o/
                                                                                                                /o   $_
    Debt Maturing
  During Plan Term
       Debt Maturing
  After Completion
  of Plan Term
    Curing Assumed
  Executory Contract or
  Lease Obligation
  Pursuant to $ 6.1.

              lnsert additional claims as needed.


  3.3    Secured Claims Protected From $ 506 Bifurcation. lCheck onel

          El lon". lf "None" is checked, the remainderof $ 3.3 need not be completed.
          E gtO Glaims. The claims listed belowwere either:
              (1)   incurred within 910 days before the Petition Date and secured by a purchase money security interest in a motor vehicle
                    acquired forthe personal use ofthe Debtor, or
              (2)   incurred within 1 year of the Petition Date and secured by a purchase money security interest in any other thing of value,

         and are thus statutorily protected from bifurcation under $ 506(a) based on collateral value (a "910 Claim").

         Based upon the Debtor's election to retain certain personal property that serves as collateral for a 910 Claim, adequate protection
         payments in an initial amount calculated pursuant to LBR 3015(c)(1 ) shall be paid by the Debtor to the Trustee beginning in Month 1 of
         the Plan for the benefit of holders of allowed 910 Claims secured by personal property as authorized by $ 1326(a)(1XC) and LBR 3015(c).
         Such payments shall be held by the Trustee solely for the benefit of the affected secured creditor to the absolute exclusion of the Debtor
         and all other parties and shall be tendered by the Trustee at the earliest practicable time to holders of allowed 910 Claims secured by
         personal property as listed below, notwithstanding any failure by the Debtor to achieve confirmation of this Chapter 13 plan. Adequate
         protection payments to be distributed by the Trustee are subject to the availability of funds and the Trustee is authorized lo make pro rata
         payments if available funds are insufficient to pay all adequate protection payments otherwise due. Such adequate protection payments
         to each affected secured claimant shall continue on a monthly basis until the month in which equal monthly payments are initiated to such
         claimant under the Plan.
         Each 910 Claim constitutes a sbparate class. Each 910 Claim will be paid in full by the Trustee with post-confirmation interest accruing
         from the Effective Date of the Plan at the plan rate stated below. Upon confirmation of this Plan, the Trustee is authorized to initiate
         monthly payments on an interim basis based upon the projected amount of each 910 Claim listed below until such time as the allowed
         amount of each 9't0 Claim is established by the filing of a proof of claim in accordance with the Bankryptcy Rules. The amount listed in
         that proof of claim, or the final determination by the Court of any objection thereto, shall control over any projected 910 Claim amount.
         lf the automatic stay is terminated as to property securing a 910 Claim treated under this subsection at any time during the Plan Term, the
         next distribution by the Trustee on such 910 Claim shall be escrowed pending any possible reconsideration of the stay termination. lf the
         stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the holder of the
         910 Claim and regular distributions on that 910 Claim shall be reinstituted. ln the event that the stay termination remains in effect on the
         second distribution date after the stay termination, the escrowed funds shall be released for distribution to other classes under this Plan
         and the 910 Claim shall thereafter be addressed solely under applicable state law procedures and will no longer be treated by the Plan.




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    Debtor
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      1.
                                                                           $_
                                                                           Month 1          $_                            o                 b
                                                                           through   _


      2.
                                                                           Month 1          $_                      o/
                                                                                                                    /d    $_                $_
                                                                           through   _


                 lnsert additional claims as needed.


      3.4    Secured Claims Subject to $ 506 Bifurcation.

             lCheck onel

                El   Hon". lf "None" is checked,   the   remainderof g 3.4 need not be rxlmpleted.

                 E Claims Subject to Bifurcation. The secured portion of each claim listed below (a "506 Claim") is equivalent to the lesser
              of: (1) the value of the claimant's interest in the listed collateral or (2) the allowed amount of the claim. Each listed 506 Claim
              constitutes a separate class. Each 506 Claim will be paid by the Trustee with post-confirmation interest accruing from the
              Effective Date of the Plan at the plan rate stated below. lf a 506 Claim is established as an oversecured claim, its holder is
              entifled to an additional component of pre-confirmation interest calculated at the contract rate and payable for the period from the
              Petition Date to the earlier of: (1) the Effective Date of the Plan, or (2) the date upon which the aggregate of such interest, plus
              the allowed amount of the 910 Claim, exceeds the value of the collateral. Such holder is responsible for establishing the
              oversecured amount and the applicable contract rate by sufficient evidence that is either satisfactory to the Trustee or otherwise
              by court order.

              Based upon the Debtor's election to retain certain personal property that serves as collateral for a 506 Claim, adequate protection
              payments in an initial amount calculated pursuant to LBR 3015(c)(1 ) shall be paid by the Debtor to the Trustee beginning in Month
              1 of the Plan for the benefit of holders of allowed 506 Claims secured by personal property as authorized by $ 1326(a)(1)(C) and
              LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected secured creditor to the absolute
              exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the earliest practicable time to holders of
              allowed 506 Claims secured by personal property as listed below, notwithstanding any failure by the Debtor to achieve
              confirmation of this Chapter 13 plan. The Trustee shall apply adequate protection payments first to accrued interest, if applicable,
              and then to principal. Adequate protection payments to be distributed by the Trustee are subject to the availability of funds and
              the Trustee is authorized to make pro rata payments if available funds are insufficient to pay all adequate protection payments
              otherwise due. Such adequate protection payments to each affected secured claimant shall continue on a monthly basis until the
              month in which equal monthly payments are initiated to such claimant under the Plan.

              Unless the Debtor invokes $ 3.10 of this Plan to obtain a final valuation determination at the confirmation hearing regarding any
              listed 506 Claim, or an agreement with the holder of any listed 506 Claim regarding the value of its collateral is otherwise
              incorporated into the confirmation order, the value of collateral securing each 506 Claim is not finally determined upon the
              confirmation of this Plan. Upon confirmation of this Plan, however, the Trustee is authorized to initiate monthly payments on an
              interim basis based upon the projected Collateral Value of each 506 Claim as listed below until such time as the allowed amount
              of each such 506 Claim is established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed
              in that proof of claim, or the final determination by the Court of any objection thereto, or the subsequent entry of an order granting
              a separate motion for valuatioh of collateral pursuant to $ 506 and Bankruptcy Rule 3012, shall control over any projected
              Collateral Value amount listed below.

              lf the automatic stay is terminated as to the propefi securing a 506 Claim at any time during the Plan Term, the next distribution
              by the Trustee on such 506 Claim shall be escrowed pending any possible reconsideration of the stay termination. lf the stay
              termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the holder of the
              506 Claim and regular distributions on that 506 Claim shall be reinstituted. ln the event that the stay termination remains in effect
              on the second distribution date after the stay termination, the escrowed funds shall be released for distribution to other classes
              under this Plan and the 506 Claim shall thereafter be addressed solely under applicable state law procedures and will no longer
              be treated by the Plan.




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  1
                                                     $_
                                                     Month   1          $                    $
                                                                                                              ot
                                                                                                                   $                 $_
                                                     through     _

 2.
                                                     $_
                                                     Month   1          $                    $                     $                 $_
                                                     through     _

  3.
                                                     Month   1          $                    $                Yo   $                 $
                                                     through     _

 4.
                                                     $_
                                                                                                              ol
                                                     Month   1          $                    $                     $                 $
                                                     through     _

          lnsert additional claims as needed.

 3.5   Direct Payment of Secured Claims Not in Default lCheck onel

         EN Uon". lf "None"   is   checked, the remainderof g 3.5 need      n   ot be compteted.

          E  Direct Claims. Each of the following secured claims are designated for direct payment in accordance with the    applicable              '
       contractual documents (a "Direct Claim"). The Debtor represents that each secured claim listed in this subsection was not in default on
       the Petition Date and either: (1) is protected from valuation under $ 506(a) and payable at a contractual interest rate reasonable under the
       circumstances; or (2) should otherwise be approved by the Court based upon the justification provided. Without such representations
       by the Debtor, this subsection may not be utilized and claim treatment must instead be addressed in $ 3.4. Each listed secured
       claim constitutes a separate class.




  1.                                                                                                                   Debtor
                                                                            $                           $_             Co-Debtor
                                                                                                   %
                                                                                                                       Third Party         Exceeds
                                                                                                                                         Plan Term



       Justification:


 2.                                                                                                                    Debtor
                                                                            $_                     U                   Co-Debtor
                                                                                                   /o
                                                                                                                       Third Party         4""""*
                                                                                                                                         Plan Term



       Justification:

        lnsert additional claims as needed.




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           Brian
           Case Charles Gregg
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Debtor                                                                     number
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         Surrender of Property. lCheck onel

          EI Non". lf "None" is   checked, the remainder of g 3.6 need not be completed.

           E Surrender of Collateral and Related Stay Relief. The Debtor surrenders to each claimant listed below the property that secures
         that creditor's claim and requests that, upon confirmation of this plan, the automatic stay under $ 362(a) be terminated as to the
         referenced collateral only and any co-debtor stay under $ 1301 be terminated in all respects. The affected claimant shall have ninety (90)
         days after the Effective Date of the Plan to file a proof of claim, or an amended claim, regarding recovery of any deficiency balance
         from the Estate resulting from the disposition of the collateral. Any such allowed general unsecured claim will thereafter be treated in Part
         5 below




  1.




  2.




         lnseft additional claims as needed.


         Lien Retention.
         The holder of a lien securing payment of a claim addressed in $$ 3.1 or 3.2 of this Plan shall retain its lien until the indebtedness secured
         by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a lien securing payment of any other
         allowed secured claim that is governed by this Plan shall retain its lien until the eadierof: (1) the total satisfaction of the indebtedness+'
         secured by the lien as determined under applicable non-bankruptcy law; or (2) the entry of a discharge order in favor of the Debtor under
         $ 1328(a). ln each instance, the provisions of this subsection may be superseded by a subsequent order of the Court.


  3.8    Maintenance of lnsurance and Post-Petition Taxes Upon Retained Collateral.
         For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this Plan, the
         Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the indebtedness or as
         may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be retained by the Debtor under
         this Plan as they come due in the post-petition period. Such payment shall be tendered to the appropriate taxing authorities in
         accordance with applicable non-bankruptcy law on or before the last date on which such taxes may be paid without penalty.



  3.9 Lien Avoidance. lCheck onel
          El   Non". lf "None" is checked,   the   remainderof g 3.9 need not be completed.

            The remainder of this subsection will be effective only if the         "lncludd"   box is checked in $ 1.2 of this Plan.
            Further, the invocation of this subsection mandates an evidentiary hearing on the "call" docket of the Court at which the
            Debtor must demonstrate: (1) service of this Plan upon any claimant affected by this suDsecfion in strict compliance with
            the requirements of Banlcruptcy Rule 7001 for service of a summons and a complainl including service upon any atlorney lor
            such claimant listed in the referenced abstract of judgment or other lien identification documents; and (2) an entitlement to
            the relief sought, including that the claims of exemption relied upon by the Debtor have, in fact, been sustained.
           E   S SZZ(0   Avoidance. The judicial liens or nonpossessory, non-purchase money security interests securing the claims listed
               below impair exemptions to which the Debtor would have been entitled under 1 1 U.S.C. S 522(b). Unless othenrvise ordered
               by the Court, a judicial lien or security interest securing a claim listed below will be avoided to the extent that it impairs such
               exemptions upon entry of the order confirming the plan. The amount of the judicial lien or security interest that is avoided
               will be treated as an unsecured claim in Part 5 to the extent allowed. The amount, if any, of the judicial lien or security
               interest that is not avoided will be paid in full as a secured claim as if set forth in $ 3.4 of the Plan. See 11 U.S.C. S 522(0
               and Bankruptcy Rule 4003(d). lf more than one judicial lien or secuity rnferest rs to be avoided, provide the information
               separately for each lien.



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a             Brian
    Debtor
               CaseCharles Gregg
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                                                                                      XX-XXXXXXX:34:09
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      Lienholder                                a. Amount of lien                                                       Amount of 506 Claim after
                                                                                                                        avoidance (line a minus line f)
                                                b. Amount of all other     liens                                        $


      Collateral                                                                                                        Plan lnterest Rate

                                                c. Value of claimed
                                                exemptions                                                              EMP by Trustee:
                                                                                                                        $


      E JudiciatLien                            d. Total of adding lines a, b,
                                                and c
                                                                                                                        EMP beginning Month
      E Non-PMSI
                                                                                                                        EMP ending Month
      Lien identification (if judicial lien,    e. Value   of debtor's interest
      attach abstract of judgment.).            in property                                                             Projected Total Payment by
                                                                                                                        Trustee:
                                                                                                                        $
                                                f.    Subtract line e from line d.


                                                Extent of exemption impairment [check applicable box]:

                                                E tine f is equal     to or greater than line a.
                                                     The entire lien is avoided. [Do not complete Column C]

                                                E tine f is less than line a.
                                                     A portion of the lien is avoided. [Complete Column C]


                 hsert additional claims as needed.


      3.10 Rule 3012 Valuation of Gollateral. lCheck onel

               E lon". lf "None" is checked, the remainderof         g 3. 10 need not be completed.

                 The remainder of thrls subsection will be efrective only          if the "lncluded" box is checked in $ .1 of this Plan.
                                                                                                                            1


                 Further, the invocation of tftrs subseetion mandates an evidentiary hearing on the "call" docket of the Coufi at which the
                 Debtor must demonstrate: (1) seruice of this Plan upon any claimant affected by this subsecfibn in strict compliance with
                 the requirements of Bankruptcy Rule 70(E for service of a summons and a complainl (2) a credible, objective basis for the
                 Debtor's opinion regarding asset values that is subject to corroboration from independent sources,' and (3) an entitlement lo
                 the rclief sought by a preponderance of the evidence presented.

             E     final Detennination of Gollateral Value. The Debtor seeks a final determination of the value of each of the following assets to
                 establish the allowed 506 Claim of each listed claimant for the purposes of $ 3.4 of this PIan. Such an expedited final determination at
                 the confirmation hearing is binding upon that listed claimant, notwithstanding any contrary proof of claim which might be subsequently
                 filed by the claimant, anyobjection filed thereto, or any value othenrise referenced in the Debtor's schedules.




      1.




           Pertains to Listed Claim   #   in 5 3.4




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         tsnan Charles Gregg Doc 49                                                        2U-4U6b I
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 2.
                                                                                                                  $


      Pertains to Lisfed Claim        #       in 5 3.4



        lnsert additional claims as needed.


 3.11 Lien Removal Based Upon Unsecured Status. lOheckonel

              E   ruon". lf "None" is checked, the remainderof g 3. 11 need not be completed.
              The remainder of thrc subsection will be effective only      if the "lncluded" box is checked in $ 1.3 of this Plan.
              Further, the invocation of fhrs subsection mandates an evidentiary hearing on the "call" docket of the Couft at which the
              Debtor must demonstrate: (1) service of this Plan upon any claimant affected by this subsecfion in strict compliance with
              the requiremenb of Bankruptcy Rule 70(M for service of a summons and a complaint; (2) a credible, objective basrc for fhe
              Debtor's opinion regarding asset yalues that is subject to corroboration from independent sources,' ancl (3) an entitlement to
              the relief sought by a preponderance of the evidence presented.

              E   Unsecured Treatment and Prospective Lien Removal. The Debtor asserts that the aggregate amount of indebtedness
                  secured by liens upon the referenced real property that are senior in priority to that held by the referenced claimant-
                  lienholder exceeds the totial value of the property. The Debtor therefore proposes that the referenced claimant will receive
                  no distributions as a secured claim under this Plan, but rather will receive distributions solely as an allowed general
                  unsecured claim under $ 5.2 of the Plan.

                  Upon the Debtor's completion of all payments due under the Plan, the referenced lien is terminated and removed and the
                  lienholder is required to execute and record a full and unequivocal release of its liens, encumbrances, and security interests
                  secured by the referenced property and to provide a copy of the release to the Debtor and the Debtor's    counsel.                o
                  Notwithstanding the foregoing, the holder of a lien that secures post-petition homeowners' association fees and
                  assessments will be allowed to retain its lien, but only to secure (i) post-petition assessments; and (ii) other post-petition
                  amounts, such as legal fees, if such other post-petition amounts are (a) incuned with respect to post-petition fees and
                  assessments; and (b) approved by the Court, if incurred during the pendency ofthe bankruptry case.




 1.


                                                                                                              C




         1.




        2.




        3.                                                                                       s


        lf more than one junior lien is unsupported by collateral value, provide the information separately for each lien.



TXEB Local Form 3015-a        letr.   Pnoln                       Chapter 13 Plan                                                                  Page 9
              Brian Charles
                 Case       Gregg Doc 49
                      20-40867                             Filed 07/13/20 Case
                                                                            Entered   20-40867
                                                                                      07/13/20 08:34:09                     Desc Main
 Debtor                                                                        number
                                                           Document      Page 10 of 25
 Panl4=                     Treatment of Administrative Expenses, DSO Glaims and Other Priority Glaims

4.1
          -
          All allowed priority claims, other than those particular domestic support obligations treated in $ 4.5, will be paid in full without
          post-confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim basis based
          upon the projected amount of each priority claim listed below until such time as the allowed amount of each priority claim is
          established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or
          the final determination by the Court of any objection thereto, shall control over any projected priority claim amount listed below.



4.2 Trustee's       Fees,
          The Trustee's fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. S 586(eX2) and, pursuant
          thereto, shall be promptly collected and paid from all plan payments received by the Trustee.



       Attorney's Fees.
       The total amount of attorney's fees requested by the Debtor's attorney in this case is $.                   ,. The amount of $
       was paid to the Debtor's attorney prior to the Petition Date. The allowed balance of attorney's fees will be paid by the Trustee from the
       remaining available funds after the payment of required adequate protection payments pursuant to $$ 3.3 and 3.4 of this Plan.
       The allowed balance of attomey's fees to be awarded to the Debtor's attomey in this case shall be determined by:

        E     Len 2016(h)(1 );   E   by submission of a formal fee application.

                  LBR 2016(hxl): lf the attorney's fee award is determined by the benchmark amounts authorized by LBR 2016(h), the total
                  fee shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor's attorney regarding the
                  rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee Period outlined in that
                  local rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper enhancement or
                  reduction of the benchmark amount in this case without the necessity of court order. No business case supplement to the
                  benchmark fee shall be recognized unless a business case designation is granted on or before initial confirmation of the Plan.
                  Fee Application: lf the attorney's fee award is determined by the formal fee application process, such fee application shall be
                  filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). lf no application             !-
                  is filed within that period, the determination of the allowed amount of attorney's fees to the Debtor's attorney shall revert to the
                  benchmark amounts authorized by LBR 2016(hX1) without the necessity of any further motion, notice or hearing and the
                  Trustee shall adjust any distributions in this class accordingly.



4.4 Priority Glaims: Domestic Support Obligations ("DSO"). [Check one]
         EI    ttone. ff "None" is checked, the remainder of g 4.4 need    not    be ampleted.

          E    OSO. The allowed priority claims listed below are based on an accrued domestic support obligation.




1.




2.




      lnsert additional claims as needed.




 TXEB Local Form 3015-a lefi.iztzo1zl                               Chapter 13 Plan                                                                Page 10
                bfta1] unarles bregg                                                        '2U-4U66
,    Debtor
                  Case 20-40867                  Doc 49   Filed 07/13/20 Case
                                                                          Entered
                                                                              number
                                                                                     07/13/20t 08:34:09                    Desc Main
                                                          Document      Page 11 of 25

          Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [check onel

              E lon". lf "None" is checked, the remainderof $ 4.5 need not be completed.
              E OSO - Partial Payment Only.. The allowed priority claims listed below are each based on a domestic      support obligation that has been
          assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim under $ 1322(a)(4). The use of this
          special treatment class provision statutoily requires that the payment commitment period in $ 2.1 be established for a tenn of 60 months.




    1.




    2.




    4.6 Priority Claims: Taxes and Other Priority Claims Excluding Attorney's Fees and DSO Claims. fCheck onel.
              B   Non". lf "None" is checked, the remainder of g 4.6 need            completed. -           /
                                               "':::i'                      not be



                                                                              ;:"f'7"' l*'i i?"'" ['''(
              E otnerpriority.,",-'
                                    -JR(""i;;;                                                                            t)/a'
                                                                                                                                  "t'


    1.


                                                                        tr Texas ad valorem tax claim entitled lo 12o/o
                                                                        annual interest and disbursement priority as a
                                                                        secured claim under S 3.4 of the Plan.




    2.


                                                                        fl Texas ad valorem tax claim entitled lo 12%
                                                                        annual interest and disbursement priority as a
                                                                        secured claim under $ 3.4 of the Plan.



    3.


                                                                        E Texas ad valorem tax claim entitled to 12o/o
                                                                        annual interest and disbursement priority as a
                                                                        secured claim under $ 3.4 of the Plan.


         lnsert additional claims as needed.




     TXEB Local Form 3015-a      lefi.12tzo17l                    Chapter 13 Plan                                                                Page   11
         Brian Charles Gregg Doc 49                                                 /u-4u6b /
Debtor
             Case 20-40867                               Filed 07/13/20 Case
                                                                          Entered
                                                                             number
                                                                                      07/13/20 08:34:09                         Desc Main
                                                         Document      Page 12 of 25
                  Treatment of Nonpriority Unsecured Glaims
  5.1 Specjelly Classed Unsecured Claims. [Check.one]
         t      n . lf   'None"is checked, the'remainderof g   5.   /   need notbe completed.

         E   Special Glasses. The nonpriority unsecured allowed claims listed below are specially classified and will be treated as follows:




  1.




  2.




         lf the special classification is denied, the claims listed in $ 5.1 will instead be treated under $ 5.2 of the Plan.


  5.2 General Unsecured Claims.
         Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:

         E   too"z, + lnterest al     _o/o;
         E   tOO"Z"   + lnterest at          % with no future modifications to treatment under this subsection;

         E   pro Rafa Share: of all funds remaining after payment of all secured, priority, and specially classified unsecured claims.
                                      -
  5.3 Liquidation Analysis: Unsecured Claims Under Parts                  4 &-5.

         lf the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
         under Part 4 of this llpn and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
         approximately    $ ()                      Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the
         aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
         greater than this amount.




TXEB Local Form 3015-a        @ff.12t20i7j                          Chapter 13 Plan                                                            Page 12
           Bnan Case
                Charles Gregg
                      20-40867               Doc 49             Filed 07/13/20          20-40867
                                                                                   Entered  07/13/20 08:34:09                 Desc Main
Debtor                                                                      Case number
                                                                Document        Page 13 of 25
  Part 6:          Executory Gontracts and Unexpired Leases

  6.1 General Rule - Rejection. The executory      contracts and unexpired leases of the Debtor listed below are ASSUMED. All other
         executory contracts and unexpired leasee of the Debtor are REJECTED.

          lCheik one.l
         E   non". lf "None" is   checked, the remainderofg 6.1 need not be completed.

         E Assumed Gontracts/Leases. All cure claims arising from the assumption of the following executory contracts or unexpired
         leases will be treated as specified in $ 3.2 of the Plan and must be listed therein in order to be assumed. Othena/se, post-petition
         installment payments for any assumed executory contract or unexpired lease agreement constitute a direct payment obligation
         ('DPO") of the Debtor for which the Debtor shall serve as the disbursing agent.




  1.




  2.




  lnseft additional agreements as needed.


  PanlT= Vesting of Property of the Estate

  7.f    Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to $ 1328, in the absence of a court
         order to the contrary.




  Part 8:          Nonstandard Plan Provisions

         E   None. lf "None" is checked, the rest of Part   I   need not be compteted.

  Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
  included in the Official TXEB Form or any deviation from it. Any nonstandard provision set out elsewhere in this Plan is void. Even if set forth
  below, any nonstandard prolslon is void unless the "lncluded" box is checked in $ 1.1 of this Plan.




TXEB Local Form 3015-a lefi.12t2ol7l                              Chapter 13 Plan                                                               Page 13
         IJnan Uharles Uregg                                                             '20-4U66't
Debtor
            Case 20-40867 Doc 49                       Filed 07/13/20 Case
                                                                        Entered 07/13/20 08:34:09                        Desc Main
                                                       Document      Page 14 of 25
  Part 9:          Miscellaneous Provisions

  9.1 Effective Date. The effective       date of this Plan shall be the date upon which the order confirming this Plan becomes a final, nonappealable
         order.



  9.2    Plan Disbursement Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in the following
         order: (1) Trustee's fees under $ 4.2 upon receipt; (2) adequate protection payments under $$ 3.3 and 3.4; (3) allowed attorney fees under
         5 a.3; (a) secured claims under SS 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under $$ 4.4 and 4.5 concurrently; (6) non-DSO
         priority claims under $ .6; (71specially classed unsecured claims under $ 5.1; and (8) general unsecured claims under $ 5.2.



         Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated without the
         consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the Debtor, or any attorney for
         the Debtor, shall be immediately tendered to the Chapter 't3 Trustee for satisfaction of any authorized exemption claim of the Debtor, with
         the remainder of the funds dedicated as an additional component of the plan base.




  Part {O: Signatures




  JC                                                                                Date-
  Signature of Attorney for Debtor(s)




  . ffi*;,QtS*gg                                                                    .*J/g/roto

  ,c
  Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)



 By filing this document, the attomey for the Debtor or any self-represented Debtor certifi* to the Court that the wording and order of the
  provisions in this Chapter 13 plan are identical to those containd in TXEB Local Form 301F.a, otherthan any nonstandard provisions included
 in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions other than those included in Paft 8.




  Part      llt    Gertificate of Service to Matrix as Currently Gonstituted by the Gourt
TXEB Local Form 30'15-a    qfi.12120171                         Chapter 13 Plan                                                                 Page 14
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                                        EXHIBIT ..A"
                                        Chapter 13 Plan
                                 Schedule of Monthly Payments

Re: Debtor: Brian Charles Gregg
      E,astern District of Texas
        Case #20-40867

Chapter 13 Plan
Part 2 Section 2.2

Schedule of Variable Plan Payments

$ 100per month for 12 months
$500 per month thereafter.
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                         rsubstitute,,"-":":i::*;:;u**,provisionsl
                           DEBTOR'S LIQUIDATING CHAPTER 13 PLAN

NOTE: Debtor's         Plan is a liquidating plan with Debtor relinquishing ownership of his principal
residence at 4541 Hitching Post Lane, Plano, TX 15024 ("Secured Property"). The Plan is
subject to consent of Standing Chapter 13 Trustee and the following secured creditors

                    Select Portfolio Servicing, Inc for Citibank NA (SPS) (disputed)
                             Servis One, Inc for US Bank Trust (disputed)
                                          DF Owners Association, Inc.

DEBTOR OBJECTIVE
        Debtor's Secured Property has sufficient equity to pay off secured creditors ("adequate
protection"). (See Table I) The Plan's principal objectives are:
    1.     Relinquish Debtor's ownership (deed-in-lieu-of foreclosure)           of his   Secured Property
           without relinquishing his entire net equity.
    2.     Protect junior lien holders.
    3.     Protect (indemnifu) Debtor against potential multiple competing claims.

    Debtor's Chapter 13 liquidating Plan will accomplish those objectives while aChapter 7
liquidation cannot.

CHAPTER 13 ASSETS AND SECURED DEBT

       The bankruptcy estate consists of assets all of which are exempt. See Schedule A/B Line
63 and Schedule CLine2.

Secured Debt
           Alleged secured claims are:
                               Collin County Tax        S
                                                   Assessor             31,875

                             Mortgage claim (disputed) S            456,488

                             DF Owners Association S                    10,837
                           " lnternal Revenue Service S                 50,000

                                   Total Secured Claims S           549,200




Debtor's Liquidating Chap 13 Plan
Page   I
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Valuation of Secured       Propefi
         Debtor's only property that is burdened by liens is Debtor's residence at 4541Hitching
Post Lane, Plano, TX75024located in the Deerfield subdivision ("Secured Properly"). Based
on actual contemporary market activity, the Secured Property has a gross value of $687,312 and
net value of $612,312 (after discount for'rehab costs).

         The pro formagross value of the Secured Property is based on 4,644 sq. ft. at $148 per sq
ft. which is substantially less that actual market experience. The following table shows recent
average active listing price   for   10 properties and recent actual sales of 6 properties   within
Deerfield subdivision. [See Exhibit "B-1 to B-4" for market value analysis.]

                             Recent Market Activity in Deerfreld Subdivision
                                             See   Exhibits B-1 to   B-4
                                                                                   Ziilow
                                                                      Repofted   Valuation
                         Average Sales Price Per Square Ft $ 155 S                    156
                         Average List Price Per Square Ft  $ 153 S                    151

                         Value Assumed for Pro Forma       $ 148
         The net value discounts the market value by estimated $75,000 that will be needed for
rehab and updating costs. (See Exhibit       "B-5" for rehab cost analysis.)

DETAILS OF PLAN

o   Trust will be formed by agreement of US Bank, Standing Chapter l3 Trustee, DF Owners.
o   US   Bank   SPS and Debtor Asreement.
    1.   US Bank advances to Debtor $30,000 in exchange for (i) Debtor's deed to Trust in lieu of
         foreclosure, (ii) dismissal of Debtor's Objection to US Bank Proof of Claim and Motion
         to Alter or Amend, and (iii) relinquishment of net equity. The advance will be used for
         Debtor relocation costs. The $30,000 advance will added to US Bank claim (Adjustable
         Rate Note) to US Bank.

    2. SPs/Citibank will release and indemnifu Debtor against SPS claim.
    3. Debtor deeds Secured Property to Trust in exchange for release and indemnification   from
         Adjustable Rate Note and other secured debt. US Bank retains Deed of Trust with title to
         Secured Property owned by Trust.

o   Trust Operations
    4.   Trust undertakes to sell the Property.

Debtor's Liquidating Chap 13 Plan
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    5. Trust files Motion to Sell the.Property        free and clear under 11 USC 363(f). Trust (andlor
           Debtor) will secure IRS consent to satisff 363(t)(2)
    6.     Debtor undertakes to relocate,
              a-   Debtor has 30 days to have estate sale and otherwise dispose of exempt assets
              b.   Debtor has 60 days to relocate to new residence.
    7.     Trust's managed sale.
              a.   Trust offers Property for sale to rehab investor groups at discounted price   of
                   $612,312.
              b.   Trust will have a $33,000 cushion with which to negotiate with rehab investor.
                   [See Table I]
o   Trust distributes proceeds from         sale to secured creditors according to their respective
    shares ofsecured debt.

PRO FORMA LIOUIDATING DISTRIBUTIONS

The following is a pro forma liquidating distribution to secured creditors from the proceeds          of
sale of the Property.
                                                   TABLE    I
                               Pro Forma Liquidating Distribution Analysis

                       Value   @ $148 per 4,644 sqft $              687,312 Exhibit "B-1"
                       Less Discount for Rehab   Costs          $   (75,000) Exhibit 'B-5"
                                         Net Market   Value     $ 612,312
                                                                                Cwnulative

                                   Claim (Distibuted) S (31,875) $ (31,875)
                       Collin Co Tax
                       US Bank Claim         (Distibuted) $ (486,488) $ (518,363)
                                     Debt S        (456,488)
                        Buy Debtor Equrty $         (30,000)
                       DF Owners Claim       (Distibuted) S (10,837) S (529,199)
                                   Internal Revenue Service $ (50,000) S (579,199)

                                        TOTAL CLAIMS S(579,199)

                                  NET VALUE      CUSIIION $         33,113




Debtor's t.iquidating Chap l3 Plan
Page   3
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                                                 EXHIBIT IIB-1II
                  'ALUATI.NoF-ttrT'#?JlT3rt""iJ,:ffi 'PLAN.'rx7s024




                                   COMPARABLE SALES ANALYSIS
                                    ALL WITHIN DEERFIELD SUBDTVISION
                                                  at www.zillow.com at1/912020
                                Data reported by Zillow

SOLD LTSTINGS                   (Sales   within last 6 months)
                                                  Sold         Zillow                                      Zillow
Sold Date            Address             Sq Ft    PSF      Value PSF     Original List   Sold   Price     Valuation
6t26t2020   4564 St James Drive           2919   $   163   $       163       N/A         $   475,000      $   475,154
6fi612020   7409 Gurney Drive             3552    N/A      $       ls9       N/A             N/A          $   564,352
 51512020   4584 Sundance Drive           4050    N/A      $       161   s   695,000         N/A          $   651,324
212712020   4624Hallmark Drive            4446 $     142   $       140   s   649,900     s   630,000      $   622,126
2t1912020   4661 Hallmark Drive           2936 $     ls3   $       154   $   450,000     $ 450,000        g   452,532
211312020   4560 Hallmark Drive           3220 $     163   $       tsq   $   525,000     $ 525,000        $   513,108

                       AVERAGES           3521 $     155           156   $   579,975     s   520,000      $   546,433


ACTIVE LISTINGS (Listing within last 2 months)                               (See   Exhibits "B-3" and "B-4")
                                                  List
 Listing                                          Price        Zillow                                      Zillow
  Date               Address             Sq Ft    PSF      Value   PSF   Original List   Present   List   Valuation
51t312020   4532 Hitching Post Lane       4t3t   s   145   $       143   s   665,000     $   599,000      $   s   89,098
 31512020   4505 Tumberry Ct              3705   s   155   s       152   s   579,900     $   574,900      $   562,175
6t21t2020   4597 Hallmark Dr              3322   $   147   $       t4s   $   489,900     $   489,900      s   482,717
512812020   7221 Regency Ct               3862   $   150   $       148   $   s79,000     s 579,000        $   s69,675
 61412020   4633 Courryard Tr             3485   $   149   $       148   $   5 19,900    s 519,900        $   5   14,702
611612020   46   l2 Courtyard Tr          3092   $   lsS   $       157   $   489,000     s 489,000        $   484,196
612512020   4577 Hallmark Dr              2898   s   169   $       167   $   489,900     s 489,900        $   484,419
5113t2020   4593 Adrian Way               4910   s   148   S       146   s   725,000     $ 725,000        $   714,822
511512020   7008 Sedgehill Ct             4763   $   163   S       161   s   777,000     $   777,000      $   765.405
612012020   4644 Courtyard Tr             3469   $   1s0   $       148   s   s20,000     $   s20,000      $   512,421

                      AVERAGES            3764 S     153           151                   $ 576,360 $          436,945
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       Deerfield Quarterly Real Estate Update
               3 Sales in January, 3 Sales in February, and 0 Sales in March
                           3 Temporarily Off Market, 1 Cancelled

          Address                Square     Ft     Price    PSF #DAYS                Original List Present List
                                              ACTIVE LISTINGS
   4504 Lancelot Drive              3925               s12s.3s             304      (     535,0m        s 492,000
   4509 Saint James Dr              3926               Srzo.gs             47       S     497,999       $    497,999
   4564 Saint Janres Dr             2919                   74.95           JU       5           0m
         AVERAGES                   3590               S141.os             134 S          sro,ooo S         496,333


                PENDING & ACTIVE CONTINGENT CONTRACT PROPERTIES
   4652 Adrian Way                                                                  $     4s4,9oo       $   4s4eoo
   4584 Sundance Drive
         AVERAGES                   3469 s 1s1.37 1e s                                    s74,es0       s   Szq,gSO


                                                SOLD LISTINGS
   7301 Penny Place                 2723           $    124.86             55       S     345,000      S     340,000
   4661Hallmark Drive               2936           S    1s3.27              0       )     450,000      s    4s0,oco
   4600Sundance Drive               3133           S    taa.:g              ')
                                                                                    S     464,9@        s    464,9@
   4560 Hallmark Drive              3224          S     163.M              41.      S     525,000      )     525,000
   4537 Hallmark Drive              4505          5     122.09             44       S     550,m0        s   550,000
   4624 Hallmark Drive               4446          S    r+r.zo             )A
                                                                                    s           900
         AVERAGES                   360s 5 142.23 30                                       497,467     5     493,317


           The coronavirus pandemic continues to impact the residential real estate market, f rcn
           marketing to showings, contracts, and closings. Most activity successfully moved online- ci'
           the numbei'of new listings and buyers has slowed. Now is a great time to prep for ycLj,' r::;..
           home sale or purchase. Sellers-deciutter and clean out the closetsl Buyers-check rlorr'
           credit reports and get financial docs ready for mortgage underwritingl After Sociai
           Distancing, be ready for a hot market.




                                                                                 tr rrzxil b'x f: itehead@* b by"e r,r'r' *{
                                                                                 *all X2&*32&*e5** t*day f*r a FR€                        E
                                       BarbaraWhitehead                          "Comparative Market Analysrs."
                                       Ebby Halliday Realtors                    IHIS /S AN OPJN/ON OF YALUE OR CAMPARATIVE MARKET
                                                                                 ANALYS/S AND SHAULD NOT BE CONSIDERED AN APPRAIS,AL, IN
                                                                                 making any decision that relies upon my work, ycu should kno\ry that
                                       At Your Serviee.                          I have not followed the guidelines for development of an appraisal
                                                                                 or analysrs contained in the Uniform Standards of Professional
                    Not intended to solicit properties currently listed.         Appraisal Practice ofthe Appraisal Foundation. Copyright: a NTREIS
                                                                                 ZOZO All Rights Reserved and lnformation deemed RELIABLE but not
                                                                                 CUARANTEED-
a                                  Exhibit'oB-3"
                          Case 20-40867 Doc 49 Filed 07/13/20 Entered 07/13/20 08:34:09                                                   Desc Main
            ti
                                                 Document    Page 21 of 25
                               Dccrfield Subdivision Home For
                               Sales Listings at Junc 5,2020
    Deerfield Pl.:rc Luxuiy Floire;




                                                                                    $489,900                                                                4bds   3.1     ba   2,898sqft
                                                                                    4a77 L]allnark Dt, Plano, TX 75024




    $565,000                                        5   bds   4   ba   4,622 sqft
    4540 Ethridge Dr, Plano, TX 75024




                                                                                    $520,000
                                                                                    4644 Courtyard Tr],   Plano,TX75t24




    4tq7 Hallmark Dr Plano TX 7tO2




                                                                                    $519,900                                                                 4   bds   4   b.   3,485
                                                                                    4633 Courtyard Trl, Plnno, TX 75024




    $489,000                                        4   bds   4   ba   3,092 sqft
    461 2   Courtyard Trl, Pla.o, Txi 5024




                                                                                    $559,000                                                                 4 bd-< 4      ba   4,442.qf1
                                                                                    4548 Turnberry Ct. Plano,   IX 75024




    $555.000
    4504 Cadillac Dr, Plano. -IX 75024
                                                    4   bds   4   ba   3,962 sqft


                                                                                    :                              &;-x''                         :;*..4:




                                                                                                                               '    ,t.
                                                                                                                           .        Y.l
                                                                                                                                   .rl;
                                                                                                                                   &
                                                                                    $579,000                                                                 4   bds   4   ba   3,862 sqft
                                                                                    1221 Regency Ct, Plano, TX 75024
a
                              Case 20-40867   Doc 49 . Filed
                                                         @, .::,r?r.....
                                                      W..t&a
                                                                 07/13/20 Entered 07/13/20 08:34:09                                                         Desc Main
I
                                                   Exhibit
                                                       Document  "B-4" Page 22 of 25
                                                                                                        $599,000                                                            4bds 4ba          4,131 sqft
                                                                                                        4532 Hitching posr Ln, plano,'TX 7502:l




      $777,A00                                                 5   bds       4   b?    4.763 s{tft
      7008 Sedgehill Cr. Plano, TX 75024




      .,




                                                                                                       $489,999                                                         4    bds 4 ba        3.46s   s
                                                                                                                                      .1](
                                                                                                       452'1   Southgare Dr, Plano,          7502/




     $725,000                                                5     bds   4       ba    4,910   scfl
     .15q3   Adrian Way, Plano,]-X 75024




                                                                                                       $s74,900                                                         5   bds   "1   b.
                                                                                                      4505 Turnberry Ct, Plano, TX 75024




                                                                                                      $489,500                                                          4   bds   4    ba   3,926 sqft
                                                                                                      4509 Saint lnmes Dr,   Plana.IX75024




    $s34,900                                              5    bds       4   ba       3,832 sqft
    4561 Jenkins Dr, Plano,   IX 75024




                                                                                                      $48s,000                                                              bds 5 be        3,925 sqf
                                                                                                      4504 Lancelot Dr, Plano, TX 7502




                                                                                                                                              rlens wl.er


    $614,900                                             5    bds 6 ba            4,749 sqft
    4561 Kentucky Dr, Plano, TX 75024
   Case 20-40867         Doc 49       Filed 07/13/20 Entered 07/13/20 08:34:09               Desc Main
                                      Document      Page 23 of 25




                             .           EXHIBIT ''B-5''
                                    Estimated Rehab Costs
                                 Listed Sequentially By Project
                   Project                 Estimate                    Source of Estimate
Exterior
     Painting                              $    5,300 ATD Bid
     Repair Pillars                        $    1,000 lncluded in Exterior Painting
     Pool Rehab                            $    4,400 665 ft formula $5/ft plaster $16/ft tile (Castle   Rock)
lnterior - General
     Painting                              $   10,661 ADT Bid
     Floor - Carpet                        $    9,000 DF Floors Bid
     Floor - Bathroom Tile                 $    3,400 DF Floors Bid
     Marble Entrance                       $    2,400 188 sq ft at $10/sq ft     $500 remove wood
     Refinish Hardwood                     $    2,250 755 sq ft at $3/sq ft
lnterior - Baths
     Bath -   Master                       $    3,000   Replace shower stall
!nterior' Kitchen
     Granite CntrTops                      $    2,400   94 sq ft at $25lsq ft
     Back splash tile                      $      116   14.5 sq ft at $8/sq ft
     Appliances
                             Stove   top $      1,400   Research
                         SinUFawset        $      600   Research
lnterior - Other
     Drapery Removal Replace      Blinds   $    1,000   Research

     Fogged   Windows                      $      400   Avg cost per window in Plano area $208
lnterior - I nfrastructure
     HVAC (replace fan   motors) $              2,500   Fan motor, 2 ton tuC ACWholesalers
  Plumbing                       $              1,000   Water heater Miscellaneous,replace faucets
Gontingency                      $             25,000

           Total Rehab Hard      Costs $       75,827
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                                 Document      Page 24 of 25



                      UNITED STATES BANKRUPTCY COURT
                          .    EASTERN DISTRICT OF TEXAS

   In re   Brian Charles Gregg

                                         DEBTOR

                                                                Case   Number 20-40867
   Debtor's Address      4541 Hitching Post Lane
                         Plano, TX75024
                         Email: bcgregg2@gmail.com              Chapter   13


   Last Four Digits of Social Security# 6004



                                 CERTIFICATE OF SERVICE

I hereby certiff thatatrue copy of the foregoing has been served on the parties listed on the
attached Matrix, at the addresses indicated by deposit in the United States Mail, f,rrst class
postage pre-paid on July 10,2020.



                                                                   BrianC Gregg-De
         Case 20-40867      Doc 49      Filed 07/13/20 Entered 07/13/20 08:34:09   Desc Main
                                        Document      Page 25 of 25

(Amended) MATRIX
tiled pursLrant to Local Rule of Bankruptcy'Procedure 1007-l(a)
f)ebtor: Rrian Charles Gregg             Case #20-40867
U.S. Bankruptcy Court Eastern District of Teras

Collin Countl' fax Assessor Collector
c/o Kenneth [- Maun
PO Box 8046
McKinney'TX 75070

Deerfield Owners Association
c/o Vinay'B Patel, Attorney
Henry Oddo Austin & Fletcher, PC
1700 Pacific Avenue Suite 2700
Dallas   TX   75201


lnternal Revenue Service
PO Box 7346
Philadelphia, PA I 9 I0l -7316

Select Portfolio Servicing. Inc
c/o Daniel P. Troiano
McGl inchey' Staffor, PLLCI
6688 No Central Expresswa,v-, Ste 400
Dallas, TX 752A6

Servis One. Inc.
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Zeleskey Mediations
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